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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

UNITED STATES OF AMERICA

v.                                                            NO. 3:23-CR-460-M
COREY WILSON

                                    DEFENDANT’S EXHIBIT LIST 1

    No.                                Description                                       Offered         Admitted
     1    Image Results “ar auto sear drop in links made of” –
          Google Search
     2    Image Results “What kind of metal are swift links made
          of” – Google Search
     3    Index Card Auto Sear _ AR-15 Full Auto (Build
          Instructions in Comments)
     4    AI Overview “what kind of metal are swift links made
          of” – Google Search
     5    AR-15 Drop-in Conversions Chart
     6    Photo of M16 Bolt Carrier
     7    DHgate.com Swift Link Type 2
     8    Demystifying AR-15 Swift Links_ A Comprehensive
          Guide - VitoWhiper Solvent Traps
     9    How to Change AR-15 From Semi-auto to Full Auto with
          Swift Link_ - VitoWhiper Solvent Traps
    10    Pictures from an ATF Report Provided in Discovery
    11    Chart: Results of ATF Test Firing on December 27, 2023
    12    Screenshot of 60 Round Capacity AR-15 Magazine on
          Sale at Cabella’s
    13    Picture of Linesman Pliers


1
 There are exhibits included on this list that fall more neatly under the category of a “demonstrative” than evidence.
Those things have been included on this exhibit list for ease of reference during the trial as well as to ensure the
government has time review it in advance of their use at trial.

                                                          1
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No.                         Description                           Offered     Admitted
14    Pictures of Kick Flashing (aluminum used on roofing) in
      Various States
15    Picture of Plastic Bag with Approx. 32 Strips of Flashing
16    Plastic Bag with Approx. 32 Strips of Flashing
17    Pictures of Aluminum Foil in Various State
18    Pieces of Aluminum Foil in Bag
19    Reserved
20    Picture of Pieces of Metal
21    ATF Intelligence-Bulletin-21-01-swift-link
22    Picture of Automatic BCM Safety Selector Ambi-Auto-
      3 70430.1571675824
23    Reserved
24    Reserved
25    Investigator/SME Scott Kline’s Report
26    Reserved
27    Reserved
28    Reserved
29    Reserved
30    Reserved
31    Reserved
32    Reserved
33    Reserved
34    Reserved

                                       Respectfully submitted,

                                       /s/ Dan Gividen
                                       DAN GIVIDEN
                                       Attorney for Defendant
                                       Texas Bar No. 24075434
                                       18208 Preston Rd. D9-284
                                       Dallas, Texas 75252

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                            CERTIFICATE OF SERVICE

      I hereby certify that a true copy of the foregoing was served on the U.S. District

Court and counsel for the government in accordance with the Federal Rules of Criminal

Procedure on February 3, 2025.


                                        /s/ Dan Gividen
                                        DAN GIVIDEN
                                        Attorney for Defendant




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